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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA


  Muscle Flex, Inc., a California corporation     Civil Action No. 1:18-cv-1140-TWP-TAB

         Plaintiff,
                         v.


  Simon Property Group, L.P.,
  Simon Property Group, Inc.,                     Jury Trial Demanded
  Matt Murat Dagli,
  New Purple LLC

         Defendants.


                                          Case Management Plan

 I.      Parties and Representatives

         A.      Plaintiff: Muscle Flex, Inc., a California corporation

                 Defendants: Simon Property Group, L.P., Simon Property Group, Inc., Matt Murat
                 Dagli, New Purple LLC

         B.      Counsel for Plaintiff:

                         Connor Lynch
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             Counsel for Defendants Simon Property Group, Inc. and Simon Property Group,
             L.P.:

                     James M. Hinshaw
                     Andrew M. Pendexter
                     BINGHAM GREENEBAUM DOLL LLP (Indianapolis)
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                     Fax: (317) 236-9907
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                     Email: apendexter@bgdlegal.com

             Attorney for Matt Murat Dagli:

                     Unknown/Pro se

             Attorney for New Purple, LLC:

                     Unknown

             Counsel shall promptly file a notice with the Clerk if there is any change in this
             information.

 II.   Jurisdiction and Statement of Claims

       A.    The Plaintiff and Defendants Simon Property Group, L.P., and Simon Property
             Group, Inc. (“Simon”) agree this court has subject matter jurisdiction because this is
             an action arising under the trademark laws of the United States joined with related
             state law claims, jurisdiction being conferred by 15 U.S.C. § 1331 and 1338 and
             jurisdiction over Plaintiff’s claims arising under state law under 28 U.S.C. § 1367.

       B.    Plaintiff’s Statement: Defendants’ use of LEGGINGS WORLD mark constitutes
             willful trademark infringement, dilution, and unfair competition and will cause
             irreparable harm to Muscle Flex, Inc. Simon Defendants, in particular, used the
             LEGGINGS WORLD trademark online on the simon.com website and in mall
             directories in connection with the advertising of goods and services sold and offered
             at Simon-controlled properties by tenants, including Dagli and New Purple, paying
             rent to Simon.

       C.    Simon Defendants’ Statement: Defendants Dagli and New Purple chose and used
             LEGGINGS WORLD to name their store(s) and promote their product
             offerings. The Simon Defendants did not. The only relationship between the Simon
             Defendants and Defendants Dagli and/or New Purple is that the latter are tenants in
             at least one of the Simon Defendants’ retail shopping malls. Any use by the Simon
             Defendants of the accused name was never done in a trademark way, at all times
             constituted a fair use, was never done with any knowledge of Plaintiff’s claimed
             trademark rights, and is otherwise protected under 15 USC 1114(2)(B). No damages


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               claimed by Plaintiff are in any way caused by or attributable to the Simon
               Defendants’ conduct.

 III.   Pretrial Pleadings and Disclosures

        A.     The parties shall serve their Fed. R. Civ. P. 26 initial disclosures on or before
               August 13, 2018.

        B.     Plaintiff shall file preliminary witness and exhibit lists on or before August 20, 2018.

        C.     Defendants shall file preliminary witness and exhibit lists on or before August 27,
               2018.

        D.     All motions for leave to amend the pleadings and/or to join additional parties shall
               be filed on or before September 13, 2018.

        E.     Plaintiff shall serve Defendants (but not file with the Court) a statement of special
               damages, if any, and make a settlement demand, on or before September 13, 2018.
               Defendants shall serve on the Plaintiff (but not file with the Court) a response
               thereto within 30 days after receipt of the demand.

        F.     Except where governed by paragraph (G) below, expert witness disclosure deadlines
               shall conform to the following schedule: Plaintiff shall disclose the name, address,
               and vita of any expert witness, and shall serve the report required by Fed. R. Civ. P.
               26(a)(2) on or before April 13, 2019. Defendants shall disclose the name, address,
               and vita of any expert witness, and shall serve the report required by Fed. R. Civ. P.
               26(a)(2) on or before May 30, 2019; or if Plaintiff has disclosed no experts,
               Defendants shall make its expert disclosure on or before May 30, 2019.

        G.     Notwithstanding the provisions of paragraph (F), above, if a party intends to use
               expert testimony in connection with a motion for summary judgment to be filed by
               that party, such expert disclosures must be served on opposing counsel no later than
               90 days prior to the dispositive motion deadline. If such expert disclosures are served
               the parties shall confer within 7 days to stipulate to a date for responsive disclosures
               (if any) and completion of expert discovery necessary for efficient resolution of the
               anticipated motion for summary judgment. The parties shall make good faith efforts
               to avoid requesting enlargements of the dispositive motions deadline and related
               briefing deadlines. Any proposed modifications of the CMP deadlines or briefing
               schedule must be approved by the Court.

        H.     Any party who wishes to limit or preclude expert testimony at trial shall file any such
               objections no later than August 2, 2019. Any party who wishes to preclude expert
               witness testimony at the summary judgment stage shall file any such objections with
               their responsive brief within the briefing schedule established by S.D. Ind. L.R. 56-1.

        I.     All parties shall file and serve their final witness and exhibit lists on or before June
               13, 2019. This list should reflect the specific potential witnesses the party may call at
               trial. It is not sufficient for a party to simply incorporate by reference “any witness
               listed in discovery” or such general statements. The list of final witnesses shall
               include a brief synopsis of the expected testimony.

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         J.      Any party who believes that bifurcation of discovery and/or trial is appropriate with
                 respect to any issue or claim shall notify the Court as soon as practicable.

         K.      Discovery of electronically stored information (“ESI”).

                 The parties are engaging in discussion surrounding the discovery of ESI and will
                 submit an ESI discovery supplement and/or an ESI protocol to the Court soon.


                 The parties agree the following provisions shall apply:

                         In the event that a document protected by the attorney-client
                         privilege, the attorney work product doctrine or other applicable
                         privilege or protection is unintentionally produced by any party to
                         this proceeding, the producing party may request that the document
                         be returned. In the event that such a request is made, all parties to the
                         litigation and their counsel shall promptly return all copies of the
                         document in their possession, custody, or control to the producing
                         party and shall not retain or make any copies of the document or any
                         documents derived from such document. The producing party shall
                         promptly identify the returned document on a privilege log. The
                         unintentional disclosure of a privileged or otherwise protected
                         document shall not constitute a waiver of the privilege or protection
                         with respect to that document or any other documents involving the
                         same or similar subject matter.

 IV.     Discovery1 and Dispositive Motions

         Due to the time and expense involved in conducting expert witness depositions and other
         discovery, as well as preparing and resolving dispositive motions, the Court requires counsel
         to use the CMP as an opportunity to seriously explore whether this case is appropriate for
         such motions (specifically including motions for summary judgment), whether expert
         witnesses will be needed, and how long discovery should continue. To this end, counsel
         must select the track set forth below that they believe best suits this case. If the parties are
         unable to agree on a track, the parties must: (1) state this fact in the CMP where indicated
         below; (2) indicate which track each counsel believes is most appropriate; and (3) provide a
         brief statement supporting the reasons for the track each counsel believes is most
         appropriate. If the parties are unable to agree on a track, the Court will pick the track it finds
         most appropriate, based upon the contents of the CMP or, if necessary, after receiving
         additional input at an initial pretrial conference.


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     The term “completed,” as used in Section IV.C, means that counsel must serve their discovery
     requests in sufficient time to receive responses before this deadline. Counsel may not serve
     discovery requests within the 30-day period before this deadline unless they seek leave of Court
     to serve a belated request and show good cause for the same. In such event, the proposed belated
     discovery request shall be filed with the motion, and the opposing party will receive it with
     service of the motion but need not respond to the same until such time as the Court grants the
     motion.

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       A.      Plaintiff believes this case is appropriate for summary judgment because Defendants’
               use of the LEGGINGS WORLD mark is undisputed, the Simon Defendants
               acknowledge that the USPTO’s refusal to register the LEGGINGS WORLD mark
               for being confusingly similar to Plaintiff’s WORLD OF LEGGINGS speaks for
               itself, and all others of Plaintiff’s claims flow from these factual bases. Thus, only
               questions of law remain.

               Defendants disagree that infringement is resolvable as a matter of law on summary
               judgment – and the Dagli and New Purple defendants will undoubtedly refute such if
               and when they are properly served and joined to this lawsuit by Plaintiff.

               In addition, the Simon Defendants anticipate that the claims against them can be
               resolved through summary judgment because the undisputed facts will demonstrate
               that any use by the Simon Defendants of the accused name was never done in a
               trademark way, at all times constituted a fair use, was never done with any knowledge
               of Plaintiff’s claimed trademark rights, and is otherwise protected under 15 USC
               1114(2)(B).

       B.      On or before February 20, 2019, and consistent with the certification provisions of
               Fed. R. Civ. P. 11(b), the party with the burden of proof shall file a statement of the
               claims or defenses it intends to prove at trial, stating specifically the legal theories
               upon which the claims or defenses are based.

       C.      Parties’ Proposed Track:
                 X Track 2: Dispositive motions are expected and shall be filed by August 13,
               2019; non-expert witness discovery and discovery relating to liability issues shall be
               completed by February 13, 2019; expert witness discovery and discovery relating to
               damages shall be completed by July 13, 2019. All remaining discovery shall be
               completed by August 13, 2019.

               Absent leave of Court, and for good cause shown, all issues raised on summary
               judgment under Fed. R. Civ. P. 56 must be raised by a party in a single motion.

 V.    Pre-Trial/Settlement Conferences

       At any time, any party may call the Judge's Staff to request a conference, or the Court may
       sua sponte schedule a conference at any time. The presumptive time for a settlement
       conference is no later than 30 days before the close of non-expert discovery. The parties
       are encouraged to request an earlier date if they believe the assistance of the
       Magistrate Judge would be helpful in achieving settlement. The parties recommend
       a settlement conference in January 2019.

 VI.   Trial Date

       The parties request a trial date in late January 2020. The trial is by jury and is anticipated to
       take 5 days.




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 VII.   Referral to Magistrate Judge

        L.    Case. At this time, the parties do not consent to refer this matter to the currently
              assigned Magistrate Judge pursuant to 28 U.S.C. 636(c) and Fed. R. Civ. P. 73 for all
              further proceedings including trial.

 VIII. Required Pre-Trial Preparation

        A.      TWO WEEKS BEFORE THE FINAL PRETRIAL CONFERENCE, the
        parties shall:

              1.     File a list of trial witnesses, by name, who are actually expected to be called
                     to testify at trial. This list may not include any witnesses not on a party’s final
                     witness list filed pursuant to Section III.I.

              2.     Number in sequential order all exhibits, including graphs, charts and the like,
                     that will be used during the trial. Provide the Court with a list of these
                     exhibits, including a description of each exhibit and the identifying
                     designation. Make the original exhibits available for inspection by opposing
                     counsel. Stipulations as to the authenticity and admissibility of exhibits are
                     encouraged to the greatest extent possible.

              3.     Submit all stipulations of facts in writing to the Court. Stipulations are always
                     encouraged so that at trial, counsel can concentrate on relevant contested
                     facts.

              4.     A party who intends to offer any depositions into evidence during the party's
                     case in chief shall prepare and file with the Court and copy to all opposing
                     parties either:

                     a.      brief written summaries of the relevant facts in the depositions that
                             will be offered. (Because such a summary will be used in lieu of the
                             actual deposition testimony to eliminate time reading depositions in a
                             question and answer format, this is strongly encouraged.); or

                     b.      if a summary is inappropriate, a document which lists the portions of
                             the deposition(s), including the specific page and line numbers, that
                             will be read, or, in the event of a video-taped deposition, the portions
                             of the deposition that will be played, designated specifically by
                             counter-numbers.

              5.     Provide all other parties and the Court with any trial briefs and motions in
                     limine, along with all proposed jury instructions, voir dire questions, and
                     areas of inquiry for voir dire (or, if the trial is to the Court, with proposed
                     findings of fact and conclusions of law).

              6.     Notify the Court and opposing counsel of the anticipated use of any
                     evidence presentation equipment.



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         B.      ONE WEEK BEFORE THE FINAL PRETRIAL CONFERENCE, the
                 parties shall:

                 1.      Notify opposing counsel in writing of any objections to the proposed
                         exhibits. If the parties desire a ruling on the objection prior to trial, a motion
                         should be filed noting the objection and a description and designation of the
                         exhibit, the basis of the objection, and the legal authorities supporting the
                         objection.

                 2.      If a party has an objection to the deposition summary or to a designated
                         portion of a deposition that will be offered at trial, or if a party intends to
                         offer additional portions at trial in response to the opponent's designation,
                         and the parties desire a ruling on the objection prior to trial, the party shall
                         submit the objections and counter summaries or designations to the Court in
                         writing. Any objections shall be made in the same manner as for proposed
                         exhibits. However, in the case of objections to video-taped depositions, the
                         objections shall be brought to the Court's immediate attention to allow
                         adequate time for editing of the deposition prior to trial.

                 3.      File objections to any motions in limine, proposed instructions, and voir dire
                         questions submitted by the opposing parties.

                 4.      Notify the Court and opposing counsel of requests for separation of
                         witnesses at trial.

 IX.     Other Matters

 Simon Defendants: While Plaintiff has named Dagli and New Purple as defendants in this action,
 these Defendants have not yet appeared or responded to the Complaint. If they have not been
 properly served, or cannot be properly joined, then the lawsuit may be subject to dismissal pursuant
 to Rule 19(b).

 Plaintiff’s Response: Plaintiff effected service on Mr. Dagli first at the address indicated for him as
 New Purple LLC’s registered agent for service of process on April 26, 2018. Mr. Dagli was not
 found at the address indicated, though the UPS Store at that location appears authorized at least to
 receive mail on his behalf. Courtesy copies were also sent via email on April 26 to the email address
 on Mr. Dagli’s trademark application to the United States Patent and Trademark Office.

 Mr. Dagli has not contacted Plaintiff or responded in any way to this lawsuit. In an abundance of
 caution before seeking entry of default, Plaintiff also effected service on June 15, 2018 at Mr. Dagli’s
 last known address by leaving a copy of the summons and complaint with an unidentified adult co-
 occupant after what appeared to be attempts by an occupant inside to avoid service. Plaintiffs intend
 to seek entry of default imminently against Defendants Dagli and New Purple.




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 Respectfully submitted,



  /s/ Connor Lynch                                /s/ James Hinshaw (with permission)
  Connor Lynch (admitted pro hac vice)            James M. Hinshaw
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  Attorneys for Plaintiff Muscle Flex, Inc.




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                PARTIES APPEARED IN PERSON/BY COUNSEL ON                      FOR A
                PRETRIAL/STATUS CONFERENCE.

                APPROVED AS SUBMITTED.

                APPROVED AS AMENDED.

                APPROVED AS AMENDED PER SEPARATE ORDER.

                APPROVED, BUT ALL OF THE FOREGOING DEADLINES ARE
                SHORTENED/LENGTHENED BY ______________ MONTHS.


                APPROVED, BUT THE DEADLINES SET IN SECTION(S)
                _______________ OF THE PLAN IS/ARE SHORTENED/LENGTHENED
                BY ______________ MONTHS.


                THIS MATTER IS SET FOR TRIAL BY           ON
                _____________________________. FINAL PRETRIAL CONFERENCE IS
                SCHEDULED FOR ____________________________________ AT   .M.,
                ROOM           .


                A SETTLEMENT/STATUS CONFERENCE IS SET IN THIS CASE FOR
                         AT   .M. COUNSEL SHALL APPEAR:

                                     IN PERSON IN ROOM           ; OR

                                    BY TELEPHONE, WITH COUNSEL FOR
                             INITIATING THE CALL TO ALL OTHER PARTIES AND
                             ADDING THE COURT JUDGE AT (____)
                             ___________________; OR

                                   BY TELEPHONE, WITH COUNSEL CALLING THE
                             JUDGE'S STAFF AT (____) ___________________;


                DISPOSITIVE MOTIONS SHALL BE FILED NO LATER THAN
                _____________________




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          Upon approval, this Plan constitutes an Order of the Court. Failure to comply with an Order
  of the Court may result in sanctions for contempt, or as provided under Fed. R. Civ. P. 16-1(f), to
  and including dismissal or default.

         APPROVED AND SO ORDERED.




  ________________________                             ___________________________________
  Date                                                 U. S. District Court
                                                       Southern District of Indiana




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